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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                                                  8/23/21
  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On August 19, 2021, Defendant informed the Court that she does not intend to seek any

redactions to the Court’s temporarily sealed Opinion and Order, dated August 13, 2021. Dkt.

No. 323.

       Defense counsel is ORDERED to provide this Order and the temporarily sealed Opinion

and Order to the intended recipients of the subpoenas. By August 25, 2021, defense counsel is

ORDERED to confirm service of this Order and the temporarily sealed Opinion and Order.

       The Court GRANTS the Government’s request for a limited unsealing of the Court’s

August 13 Opinion and Order and the underlying motion papers. Dkt. No. 324. The Court will

send the temporarily sealed Opinion and Order and motion papers to the Government. By

September 1, 2021, the Government and the intended recipients of the subpoenas are ORDERED

to inform the Court whether they seek sealing or limited redactions of the Court’s opinion,

justifying any such request by reference to the three-part test articulated by the Second Circuit in

Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006). In addition, by that date the

Government shall inform the Court whether it seeks full sealing or redactions of the original

motion papers, again justifying any such request by reference to the Lugosch test.

       This resolves Dkt. No. 324.
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     SO ORDERED.


Dated: August 23, 2021
       New York, New York
                                     ____________________________________
                                               ALISON J. NATHAN
                                             United States District Judge
